     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 1 of 34 Page ID #:329




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 9                               UNITED STATES DISTRICT COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11
12      JOSEPH MORRISSEY,                      No. 2:20-cv-03355-JFW (MAAx)

13                 Plaintiff,                  Hon. John F. Walter
14                        v.
                                               CITY OF LOS ANGELES’ NOTICE OF
15      CITY OF LOS ANGELES; and               MOTION AND MOTION TO DISMISS
        TOWWERKS, LLC (d/b/a/
        VIERTEL’S CENTRAL DIVISION,            OR STAY ACTION PURSUANT TO
16      VIERTEL’S NORTHEAST                    COLORADO RIVER DOCTRINE; AND,
17      DIVISION),                             IN THE ALTERNATIVE, TO DISMISS
                   Defendants.                 SECOND AMENDED COMPLAINT
18                                             PURSUANT TO FED. R. CIV. PROC.
19                                             12(b)(6); MEMORANDUM OF POINTS
                                               AND AUTHORITIES
20
21                                             [Request for Judicial Notice; and
                                               [Proposed] Order Filed Concurrently
22                                             Herewith]
23                                             Hearing
                                               Date: August 10, 2020
24                                             Time: 1:30 p.m.
                                               Location: Courtroom 7A
25                                                       350 W. 1st Street
26                                                       Los Angeles, CA 90012

27                                             Complaint filed: April 9, 2020
28                                             SAC Filed: June 22, 2020


                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 2 of 34 Page ID #:330




 1     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE that on Monday, August 10, 2020 at 1:30 p.m., or as
 3     soon thereafter as the matter may be heard in Courtroom 7A of the above titled Court,
 4     located at 350 West 1st Street, Los Angeles, California, 90012, Defendant City of Los
 5     Angeles (“City”) will and hereby does move to dismiss or stay this action filed by
 6     Plaintiff Joseph Morrissey pursuant to the Colorado River doctrine, or, in the alternative,
 7     to dismiss Plaintiff’s Second Amended Complaint (“SAC”) pursuant to Federal Rule of
 8     Civil Procedure 12(b)(6). The City’s Motion is brought on the grounds that the action
 9     should be dismissed or stayed pending the outcome of Plaintiff’s parallel state court
10     action under Colorado River; and alternatively, pursuant to Federal Rule of Civil
11     Procedure 12(b)(6), each of the claims purportedly asserted in the SAC against the City
12     should be dismissed because the SAC fails to state any such claim.
13           The City’s Motion is based upon this Notice of Motion and Motion, the
14     accompanying Memorandum of Points and Authorities, the Request for Judicial Notice,
15     upon all the pleadings and papers that are on file in this action, and upon all oral and
16     documentary evidence that may be presented at the time of the hearing on this Motion.
17     This Motion is made following two conferences of counsel pursuant to Local Rule 7-3.
18     The first conference took place on May 29, 2020 regarding the First Amended Complaint
19     (Dkt. No. 32), which resulted in Plaintiff filing the operative SAC. The second
20     conference took place on June 30, 2020 after Plaintiff filed his SAC. See Dkt. No. 39.
21     Dated: July 13, 2020          MICHAEL N. FEUER, City Attorney
22                                   KATHLEEN A. KENEALY, Chief Assistant City Attorney
                                     SCOTT MARCUS, Senior Assistant City Attorney
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25                                   /s/ Jessica Mariani
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27                                   Attorneys for Defendant City of Los Angeles

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                                                    1
                      CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 3 of 34 Page ID #:331




 1                                              TABLE OF CONTENTS

 2     I.     INTRODUCTION ................................................................................................... 1
 3     II.    STATEMENT OF RELEVANT FACTS................................................................ 2
 4            A.      The City’s 72-Hour Parking Law .................................................................. 2
 5            B.      Plaintiff Violated The 72-Hour Parking Law................................................ 2
 6            C.      Plaintiff Did Not Take The Necessary Steps To Recover His Car ............... 2
 7            D.      Plaintiff Files Two Almost Identical Lawsuits ............................................. 4
 8     III.   LEGAL STANDARDS ........................................................................................... 5
 9            A.      Motion to Dismiss or Stay Under Colorado River Doctrine ........................ 5
10            B.      Motion to Dismiss Pursuant to Rule 12(b)(6) ............................................... 6
11     IV.    THIS ACTION SHOULD BE DISMISSED OR STAYED UNDER THE
              COLORADO RIVER DOCTRINE .......................................................................... 6
12
              A.      The Two Cases Filed By Plaintiff Are Substantially Similar ....................... 6
13
              B.      Dismissal Or A Stay Of This Action Will Avoid Piecemeal Litigation ....... 8
14
              C.      State Law Provides The Rule Of Decision For Most Claims ....................... 9
15
              D.      The State Court Proceeding Adequately Protects Plaintiff’s Rights .......... 10
16
              E.      Dismissing Or Staying This Action Discourages Forum Shopping ........... 11
17
              F.      State Court Proceedings Can Resolve All Issues Before Federal Court..... 11
18
       V.     ALTERNATIVELY, THE COMPLAINT SHOULD BE DISMISSED
19            BECAUSE IT FAILS TO STATE A CLAIM AGAINST THE CITY................. 12
20            A.      Plaintiff Has Not Alleged Monell Liability For Violation of His
                      Fourth or Fourteenth Amendment Rights ................................................... 12
21
                      1.       Plaintiff’s First Claim Fails Because Tows To Enforce The 72-
22                             Hour Law Do Not Violate Constitutional Rights ................... 13
23                    2.       Plaintiff’s Second Claim Fails Because Plaintiff Cannot
                               Establish Monell Liability Based On The Fourteenth
24                             Amendment ............................................................................. 16
25                             a.       Lack of Facts Establishing A Policy, Practice, or Custom..... 16
26                             b.       No Identified Policy, Practice or Custom Was The
                                        “Moving Force” Behind A Constitutional Violation ............. 18
27
              B.      Plaintiff Has Not Adequately Alleged A Failure to Train or Supervise ..... 19
28
                                                                  i
                           CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 4 of 34 Page ID #:332



             C.      Plaintiff Fails To State A Claim For Violation Of The ADA ..................... 20
 1
             D.      Plaintiff Fails To State A Claim Under The Unruh Civil Rights Act ......... 22
 2
             E.      Plaintiff Fails To State A Claim Under The CDPA .................................... 23
 3
             F.      Plaintiff Cannot State A Claim Against The City Under California
 4                   Civil Code Section 3072 ............................................................................. 24
 5           G.      Plaintiff Fails To State A Claim Under Government Code Section
                     815.6 ............................................................................................................ 24
 6
       VI.   CONCLUSION...................................................................................................... 25
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                    ii
                         CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 5 of 34 Page ID #:333




 1                                              TABLE OF AUTHORITIES

 2                                                                                                                         Page(s)
 3     Cases
 4     Abcarian v. Levine,
 5       2016 U.S. Dist. LEXIS 192140 (C.D. Cal. Nov. 28, 2016) .............................. 7, 10, 12
 6     Am. Int’l Underwriters (Philippines), Inc. v. Cont’l Ins. Co.,
 7       843 F.2d 1253 (9th Cir. 1988) ....................................................................................... 6

 8     Apostol v. Castro Valley Unified Sch. Dist,
         2011 U.S. Dist. LEXIS 124509 (N.D. Cal. Oct. 27, 2011) ......................................... 21
 9
10     Bauer v. City of Pleasanton,
         2020 U.S. Dist. LEXIS 52748 (N.D. Cal., Mar. 26, 2020) ......................................... 16
11
       Bd. Of the Cnty. Comm’rs v. Brown,
12
          520 U.S. 397 (1997) ..................................................................................................... 18
13
       Bell Atlantic Corp. v. Twombly,
14        550 U.S. 554 (2007) ................................................................................................. 6, 13
15
       Black v. Dep’t of Mental Health,
16        83 Cal. App. 4th 739 (2000) .................................................................................. 10, 11
17     Brown v. Texas,
18        443 U.S. 47 (1979) ....................................................................................................... 14

19     Capp v. City of San Diego,
         940 F.3d 1046 (9th Cir. 2019) ..................................................................................... 13
20
21     Carter v. City of Los Angeles,
         224 Cal.App.4th 808 (2014) .................................................................................. 23, 24
22
       Cholla Ready Mix, Inc. v. Civish,
23
         382 F.3d 969 (9th Cir. 2004) ......................................................................................... 6
24
       Connick v. Thompson,
25       563 U.S. 51 (2011) ....................................................................................................... 19
26
       In re Countrywide Fin. Corp. Deriv. Litig.,
27         542 F. Supp. 2d 1160 (C.D. Cal. 2008) ......................................................................... 7
28
                                                                     iii
                            CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 6 of 34 Page ID #:334




 1     Courthouse News Serv. v. Planet,
         750 F.3d 776 (9th Cir. 2014) ......................................................................................... 5
 2
       Curran v. Mount Diablo Council of the Boy Scouts,
 3       17 Cal.4th 670 (1998) .................................................................................................. 22
 4
       Dougherty v. City of Covina,
 5       654 F.3d 892 (9th Cir. 2011) ..................................................................... 12, 13, 18, 20
 6     Duvall v. Cty. of Kitsap,
 7       260 F.3d 1124 (9th Cir. 2001) ..................................................................................... 22
 8     Fireman’s Fund Ins. Co. v. Garamendi,
 9        790 F. Supp. 938 (N.D. Cal. 1992) .............................................................................. 11

10     Flores v. County of Los Angeles,
          758 F.3d 1154 (9th Cir. 2014) ............................................................................... 19, 20
11
12     Gallagher v. Dillon Group, 2003-I,
         2010 U.S. Dist. LEXIS 33054 (N.D. Cal. 2010) ......................................................... 10
13
       Gaston v. Colio
14
         883 F. Supp. 508 (S.D. Cal. 1995)............................................................................... 22
15
       Guzman v. County of Monterey,
16       46 Cal. 4th 887 (2009) ................................................................................................. 24
17
       Hallstrom v. City of Garden City,
18       991 F.2d 1473 (9th Cir. 1993) ............................................................................... 14, 15
19     Hawkins v. San Mateo County Law Library,
20       2007 U.S. Dist. LEXIS 47559 (N.D. Cal. Jun. 21, 2007) ........................................... 24

21     AE ex rel. Hernandez v. County,
         666 F.3d 631 (9th Cir. 2012) ....................................................................................... 13
22
23     Inman v. Anderson,
          294 F. Supp. 3d 907 (N.D. Cal. 2018) ......................................................................... 18
24
       LA MF Holdings SPE, LLC v. Shekhter,
25
         2017 U.S. Dist. LEXIS 220299 (C.D. Cal., Jun. 8, 2017) .................................... passim
26
       Manda v. Albin,
27       2019 U.S. Dist. LEXIS 204473 (N.D. Cal. Nov. 25, 2019) .................................. 19, 20
28
                                                                    iv
                            CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 7 of 34 Page ID #:335




 1     Mandujano v. Geithner,
         2011 U.S. Dist. LEXIS 68582 (N.D. Cal. Jun. 28, 2011) ........................................... 21
 2
       Martinez v. County of Los Angeles,
 3       2018 U.S. Dist. LEXIS 21875 (C.D. Cal., Feb. 1, 2018) ............................................ 16
 4
       Miranda v. City of Cornelius,
 5       429 F.3d 858 (9th Cir. 2005) ....................................................................................... 15
 6     Monell v. Dep’t of Soc. Servs. of the City of New York,
 7       436 U.S. 658 (1978) .............................................................................................. passim
 8     Montanore Minerals Corp. v. Bakie,
 9       867 F.3d 1160 (9th Cir. 2017) ............................................................................... 5, 8, 9

10     Moss v. United States Secret Serv.,
         572 F.3d 962 (9th Cir. 2009) ......................................................................................... 6
11
12     Nakash v. Marciano,
         882 F.2d 1411 (9th Cir. 1989) ......................................................................... 6, 7, 8, 10
13
       O’Guinn v. Lovelock Corr. Ctr.,
14
         502 F.3d 1056 (9th Cir. 2007) ............................................................................... 20, 22
15
       Ollie v. Riggin,
16        848 F.2d 1016 (9th Cir. 1988) ..................................................................................... 10
17
       Qualified Patients Assn. v. City of Anaheim,
18       187 Cal.App.4th 734 (2010) .................................................................................. 22, 23
19     R.R. St. & Co. v. Transp. Ins. Co.,
20        656 F.3d 966 (9th Cir. 2011) ................................................................................ passim

21     Ramirez v. City of Buena Park,
         560 F.3d 1012 (9th Cir. 2009) ..................................................................................... 15
22
23     Ross v. U.S. Bank Nat’l Ass’n,
         542 F. Supp. 2d 1014 (N.D. Cal. 2008) ....................................................................... 11
24
       Sackman v. City of Los Angeles,
25
          677 Fed. Appx. 365 (9th Cir. 2017)............................................................................. 15
26
       Sanchez v. City of Fresno,
27        914 F. Supp. 2d 1079 (E.D. Cal. 2012) ....................................................................... 17
28
                                                                   v
                           CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 8 of 34 Page ID #:336




 1     Sanders v. Arneson Prods., Inc.,
          91 F.3d 1351 (9th Cir. 1996) ....................................................................................... 21
 2
       Scofield v. Hillsborough,
 3        862 F.2d 759 (9th Cir. 1988) ....................................................................................... 17
 4
       Soldal v. Cook County,
 5        506 U.S. 56 (1992) ....................................................................................................... 14
 6     South Dakota v. Opperman,
 7        428 U.S. 364 (1976) ..................................................................................................... 14
 8     Stamps v. Superior Court,
 9        136 Cal. App. 4th 1441 (2006) .................................................................................... 22

10     Sulima v. Tobyhanna Army Depot,
          602 F.3d 177 (3d Cir. 2010) ........................................................................................ 21
11
12     Taormina v. California Dept. of Corrections,
         946 F. Supp. 829 (S.D. Cal. 1996)......................................................................... 22, 23
13
       Taylor v. County of San Bernardino,
14
          2011 U.S. Dist. LEXIS 113051 (C.D. Cal., Apr. 12, 2011) ........................................ 13
15
       United States v. Hawkins,
16       249 F.3d 867 (9th Cir. 2001) ....................................................................................... 14
17
       United States v. Jensen,
18       425 F.3d 698 (9th Cir. 2005) ....................................................................................... 14
19     Van Dusen v. City of Oakland,
20       2015 U.S. Dist. LEXIS 51777 (N.D. Cal., Apr. 20, 2015) .......................................... 16

21     Vasquez v. City of Santa Paula,
         2015 U.S. Dist. LEXIS 186844 (C.D. Cal. Mar. 11, 2015)......................................... 20
22
23     Warfield v. Peninsula Golf & Country Club,
         10 Cal.4th 594 (1995) .................................................................................................. 23
24
       Waters v. Hollywood Tow Serv.,
25
         2010 U.S. Dist. LEXIS 93091 (C.D. Cal., Jul. 27, 2010)...................................... 15, 17
26
       Whitsitt v. Zedlitz,
27       2013 U.S. Dist. LEXIS 202482 (Jul. 19, 2013) ........................................................... 18
28
                                                                     vi
                            CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
     Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 9 of 34 Page ID #:337




 1     WMX Techs. v. Miller,
         80 F.3d 1315 (9th Cir. 1996) ....................................................................................... 12
 2
 3
 4     Statutes

 5     42 U.S.C. § 1983 ............................................................................................. 10, 12, 16, 19
 6     42 U.S.C. § 12102(1) ........................................................................................................ 20
 7     42 U.S.C. § 12132 ............................................................................................................. 20
 8
       California Vehicle Code § 40215 ....................................................................................... 2
 9
       California Vehicle Code § 40230 ....................................................................................... 2
10
11     California Vehicle Code § 22651(k) ............................................................................... 2, 9

12     California Vehicle Code § 22852 .............................................................................. passim
13     California Civil Code § 54 .................................................................................................. 7
14
       California Civil Code § 54.3(a) ........................................................................................ 24
15
       California Civil Code § 3072 ..................................................................................... passim
16
       California Civil Procedure Code § 526a ............................................................................. 8
17
18     California Government Code § 815.6 ......................................................................... 10, 24

19     Los Angeles Municipal Code § 80.73.2 (“72-Hour Law”) ....................................... passim
20     Other Authorities
21
       United States Constitution Amendment IV ................................................................ 13, 14
22
       United States Constitution Amendment XIV ............................................................ passim
23
       Federal Rule of Civil Procedure 12(b)(6) ................................................................. 5, 6, 25
24
25
26
27
28
                                                                      vii
                            CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 10 of 34 Page ID #:338




 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         After violating a local ordinance by leaving his car in the same spot on a public
 4   street for over 72 hours, Plaintiff Joseph Morrissey’s (“Plaintiff”) car was cited on
 5   February 22, 2019, towed on February 28, 2019, and ultimately sold at a lien sale on
 6   April 11, 2019. After Plaintiff allegedly did not receive a hearing to contest his citation
 7   and impound, Plaintiff did not take any steps to stop the lien sale of his car, and instead
 8   chose to file this federal lawsuit challenging the validity of the City’s ordinance
 9   prohibiting motorists from parking a car in the same spot on any public road or alley for
10   72 or more consecutive hours (“72-Hour Law”), and the City’s procedures to enforce
11   that law. On the very same day that Plaintiff filed this lawsuit, he filed another lawsuit
12   against the City in California Superior Court arising out of the same facts and asserting
13   the same legal theories, i.e., that the City’s enforcement of its 72-Hour Law violated the
14   Fourth and Fourteenth Amendments to the United States Constitution, the Americans
15   with Disabilities Act, and a number of California statutes, including the Unruh Civil
16   Rights Act, the Disabled Persons Act, California Civil Code section 3072, and California
17   Vehicle Code section 22852. Plaintiff’s gamesmanship in simultaneously pursuing the
18   same challenge in two forums should not be permitted as it would encourage forum
19   shopping, cause unnecessary duplication of efforts, and pose a real danger of piecemeal
20   and conflicting decisions that could have widespread ramifications throughout the State
21   of California since many cities have laws similar to Los Angeles’ 72-Hour Law. In the
22   interests of wise administration of justice, this case should be dismissed or stayed
23   pending the outcome of the parallel State Action under the Colorado River doctrine.
24         Alternatively, each claim asserted against the City in the SAC should be dismissed
25   for failure to state a claim. The deficiencies of the claims highlight that Plaintiff’s
26   attempt to invalidate the 72-Hour Law is nothing more than an effort to achieve through
27   a court what advocates failed to achieve through the appropriate legislative channel via a
28   failed Assembly Bill in 2019 that sought to ban tows for violations of the 72-hour rule.
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 11 of 34 Page ID #:339




 1   II.   STATEMENT OF RELEVANT FACTS
 2         A.     The City’s 72-Hour Parking Law
 3         The City of Los Angeles (“City”), like many cities throughout the state, has a
 4   long-standing law that makes it “unlawful for any person who owns or who has
 5   possession, custody or control of any vehicle to park that vehicle or leave it standing
 6   upon any highway, street or alley for 72 or more consecutive hours.” See Request for
 7   Judicial Notice, Ex. B (Los Angeles Municipal Code (“LAMC”) § 80.73.2). The
 8   prohibition on leaving a parked car in the same spot for 72 hours consecutive hours
 9   prevents cars from hogging the finite resource of available parking, and prevents streets
10   from becoming littered with abandoned cars that attract criminal activity, such as theft
11   and vandalism. See RJN, Ex. C. The California Vehicle Code authorizes a city to tow
12   any car parked in violation of such a city ordinance. Cal. Veh. Code § 22651(k).
13         B.     Plaintiff Violated The 72-Hour Parking Law
14         Plaintiff does not dispute that he violated the 72-Hour Law by leaving his car
15   parked on the street outside his home for at least 10 days. SAC ¶¶ 1, 18, 21. Plaintiff
16   learned that his car had been cited on February 22, 2019 for violating the 72-Hour Law
17   when he returned home on February 25, 2019 after a week-long hospital stay. SAC ¶¶
18   18-21. Despite the clear warning on the citation that his car “will be towed if not
19   moved,” the car remained on the street for nearly three additional days until it was towed
20   by Defendant Towwerks, LLC d/b/a Viertel’s Central Division (“Viertel’s”) on February
21   28, 2019. SAC ¶¶ 2, 21. Plaintiff alleges he could not find anyone to move his car, and
22   that he was “largely bedbound in the days following his discharge from hospital” and not
23   allowed to drive for three months due to side effects of medicine. SAC ¶¶ 20, 21.
24         C.     Plaintiff Did Not Take The Necessary Steps To Recover His Car
25         Plaintiff acknowledges that there are separate and distinct processes by which a
26   vehicle owner may (1) challenge a citation, (2) contest the basis for an impound, and (3)
27   stop a lien sale – all of which are governed by separate laws. See SAC ¶ 27; see Cal.
28   Veh. Code §§ 40215, 40230 (governing challenges to parking citations); Cal. Veh. Code

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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 12 of 34 Page ID #:340




 1   § 22852 (governing challenges to vehicle impounds); Cal. Civ. Code § 3072 (governing
 2   lien sales). Without alleging that he took all steps necessary to challenge the citation,
 3   tow, and lien sale, Plaintiff nonetheless contends the City should have rescinded the
 4   citation and impound because he was hospitalized when the citation was issued. SAC ¶
 5   95. Although Plaintiff discovered the citation on February 25, 2019 (SAC ¶¶ 20-21), it
 6   was not until his car was towed on February 28, 2019 that he allegedly filed a constituent
 7   dispute form. SAC ¶ 22. Ignoring that a car owner must take different steps to challenge
 8   a citation and an impound, Plaintiff alleges vaguely – without setting forth the contents
 9   of the dispute form – that the form “challeng[ed] the citation and tow” on the grounds
10   that Plaintiff was in hospital when the citation was issued. Id. In response, the City’s
11   Parking Violations Bureau sent Plaintiff two letters on March 4, 2019, acknowledging
12   Plaintiff’s dispute of the citation, and informing him that “[c]itations cannot be dismissed
13   without any substantiating document to support [his] medical-related claim.” SAC ¶ 23.
14         Two days later, on March 6, 2019, the City issued an impound notice (“Impound
15   Notice”) to Plaintiff notifying him in writing that his car had been impounded. SAC
16   ¶ 24. Plaintiff concedes not only that he received the Impound Notice, but also that it
17   contained instructions spelling out what he needed to do to contest the impound. Id.
18   Consistent with Vehicle Code section 22852, the instructions specified that in order to
19   contest the impound of his car – as opposed to the citation – Plaintiff needed to contact
20   “DOT Central” within ten days to request a post-impound hearing. Id.
21         Also on March 6, 2019, Viertel’s issued a notice of pending lien sale (“Lien Sale
22   Notice”), as required by Civil Code section 3072, again notifying Plaintiff that his car
23   would be sold unless he took steps to prevent that sale. SAC ¶ 25. Plaintiff concedes
24   that he received the Lien Sale Notice, but quibbles with the notice’s alleged omission of
25   “facts concerning the claim which gives rise to the lien, including by leaving blank the
26   amount owed due to a citation” (SAC ¶ 26), even though Plaintiff knew the amount
27   owed due to the citation was $68, as listed on the citation. See SAC ¶ 29.
28         Despite these two notices, Plaintiff did not follow the instructions in the Impound
                                                  3
                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 13 of 34 Page ID #:341




 1   Notice to contact “DOT Central” within 10 days to request a post-impound hearing. See
 2   SAC ¶ 24. Plaintiff instead chose to write to DOT’s Parking Violations Bureau on
 3   March 15, 2019 in response to the earlier March 4, 2019 letter regarding DOT’s initial
 4   review of the citation, which informed Plaintiff that “[c]itations cannot be dismissed
 5   without any substantiating document to support [his] medical-related claim.” SAC
 6   ¶¶ 23, 28. Likewise, Plaintiff did not pursue either of the two options available to him to
 7   recover his car prior to the lien sale: pay the fees (which he alleges he could not afford)
 8   (SAC ¶ 27), or dispute the lien sale in court. See Cal. Civ. Code § 3072. Indeed, the
 9   SAC does not allege Plaintiff took any actions to recover his car from Viertel’s at any
10   time. Plaintiff instead “chose to continue to pursue his right to dispute the citation and
11   the tow” while forgoing any effort to stop the lien sale. See SAC ¶ 27.
12         Plaintiff complains that the Impound Notice was issued after the 48-hour deadline
13   set by Vehicle Code section 22852. SAC ¶ 136. Even if the notice were late, Plaintiff
14   does not, and cannot, contend that it caused him to be unable to timely contest the
15   impound since that deadline is triggered by the notice date. See Cal. Veh. Code
16   § 22852(b)(4) (owner must request poststorage hearing within 10 days of date on notice).
17   Likewise, although Plaintiff claims that he was not given extra time to contest the
18   citation, impound, or lien sale (SAC ¶ 27), Plaintiff does not allege that he needed or
19   ever requested additional time. Instead, Plaintiff claims that he timely submitted a
20   Request for Hearing on the citation and payment for the citation, which was “cashed” by
21   the City on March 29, 2019. SAC ¶ 30. Plaintiff does not allege that he followed up
22   regarding scheduling of a hearing after the City allegedly “cashed” his citation payment.
23   Viertel’s ultimately sold Plaintiff’s car at a lien sale on April 11, 2019. SAC ¶ 32.
24         D.     Plaintiff Files Two Almost Identical Lawsuits
25         Plaintiff filed two lawsuits against the City 1 on April 9, 2020: the instant lawsuit
26   in federal court (“Federal Action”), and one in California superior court (“State Action”).
27   As noted in Plaintiff’s notice pursuant to Local Rule 83-1.4.1, the State Action “involves
28   1
      While the City is the sole defendant in the State Action, Plaintiff added an alleged
     agent of the City as a co-defendant in the Federal Action.
                                                  4
                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 14 of 34 Page ID #:342




 1   all or a material part of the subject matter [of] this action; namely, the same underlying
 2   factual events that occurred when the City of Los Angeles and its agents unlawfully
 3   seized and sold Mr. Morrissey’s car without due process of law and without any
 4   consideration for his disability, while he was still in recovery from cancer surgery.” Dkt.
 5   4 at 1:19-24. Both suits arise out of the City’s enforcement of its 72-Hour Law in
 6   issuing a parking citation to Plaintiff’s car on February 22, 2019, and its subsequent
 7   impound and lien sale. Both suits claim that the City’s enforcement of its 72-Hour Law
 8   violated the same California statutes (the Unruh Civil Rights Act, the Disabled Persons
 9   Act, California Civil Code section 3072, and California Vehicle Code section 22852),
10   the Fourth and Fourteenth Amendments to the United States Constitution, and the
11   Americans with Disabilities Act. In both actions, Plaintiff seeks declaratory relief and
12   injunctive relief enjoining 2 the City from enforcing the 72-Hour Law.
13   III.   LEGAL STANDARDS
14          A.    Motion to Dismiss or Stay Under Colorado River Doctrine
15          Under the Colorado River doctrine, a federal district court may abstain from
16   exercising jurisdiction 3 in favor of parallel state proceedings where doing so would serve
17   the interests of ‘wise judicial administration, giving regard to the conservation of judicial
18   resources and comprehensive disposition of litigation.’” See Montanore Minerals Corp.
19   v. Bakie, 867 F.3d 1160, 1165 (9th Cir. 2017). In deciding whether to apply the doctrine,
20   courts engage in a pragmatic balancing of eight factors, with an eye to the realities of the
21   case. See R.R. St. & Co. v. Transp. Ins. Co., 656 F.3d 966, 978-79 (9th Cir. 2011). The
22   factors are: (1) which court first assumed jurisdiction over property at stake; (2)
23   inconvenience of the federal forum; (3) desirability of avoiding piecemeal litigation; (4)
24   the order in which jurisdiction was obtained by the forums; (5) whether federal law or
25   2
       Although Plaintiff removed “injunctive” from the complaint title when he amended, the
     Prayer of the SAC still seeks preliminary and permanent injunctive relief. Prayer § ix.
26   3
       While the Ninth Circuit “ha[s] not squarely held whether abstention is properly raised
     under Rule 12(b)(6), Rule 12(b)(1), both, or neither” (see Courthouse News Serv. v.
27   Planet, 750 F.3d 776, 780 n.2 (9th Cir. 2014)), many courts treat Colorado River
     abstention as distinct from a Rule 12(b) motion. See e.g., Shekhter, 2017 U.S. Dist.
28   LEXIS 220299, at *46 (denying 12(b)(6) motion and sua sponte staying case under
     Colorado River).
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 15 of 34 Page ID #:343




 1   state law provides the rule of decision on the merits; (6) whether the state proceedings
 2   are inadequate to protect the federal litigant’s rights; (7) desire to avoid forum shopping;
 3   and (8) whether the state court proceedings will resolve all issues before the federal
 4   court. See P6 LA MF Holdings SPE, LLC v. Shekhter, 2017 U.S. Dist. LEXIS 220299, at
 5   *41 (C.D. Cal., Jun. 8, 2017) (citation omitted). Rather than a mechanical checklist,
 6   these factors should serve as a guide for flexible balancing, with the weight given to each
 7   factor potentially varying greatly from case to case. See Am. Int’l Underwriters
 8   (Philippines), Inc. v. Cont’l Ins. Co., 843 F.2d 1253, 1257 (9th Cir. 1988).
 9         B.     Motion to Dismiss Pursuant to Rule 12(b)(6)
10         A complaint may be dismissed for failure to state a claim under Rule 12(b)(6)
11   where the factual allegations do not raise the right to relief above a speculative level.
12   Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 570 (2007); see also Moss v. United
13   States Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009) (“for a complaint to survive a
14   motion to dismiss, the non-conclusory ‘factual content,’ and reasonable inferences from
15   that content, must be plausibly suggestive of a claim entitling the plaintiff to relief.”).
16   While the court assumes that well-pleaded factual allegations are true, the court need not
17   accept as true “allegations that are merely conclusory, unwarranted deductions of fact, or
18   unreasonable inferences.” Cholla Ready Mix, Inc. v. Civish, 382 F.3d 969, 973 (9th Cir.
19   2004) (citation omitted).
20   IV.   THIS ACTION SHOULD BE DISMISSED OR STAYED UNDER THE
21         COLORADO RIVER DOCTRINE
22         The “exceptional circumstances” necessary to warrant a dismissal or stay of this
23   action pending the outcome of Plaintiff’s State Action under the Colorado River doctrine
24   exist here. See Nakash v. Marciano, 882 F.2d 1411, 1416 (9th Cir. 1989).
25         A.     The Two Cases Filed By Plaintiff Are Substantially Similar
26         Sometimes treated as a threshold inquiry, courts deciding whether to abstain from
27   exercising jurisdiction under the Colorado River doctrine must determine whether the
28   federal and state actions are sufficiently parallel, i.e., whether ‘substantially the same

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                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 16 of 34 Page ID #:344




 1   parties are contemporaneously litigating the same issues in different forums.’” See In re
 2   Countrywide Fin. Corp. Deriv. Litig., 542 F. Supp. 2d 1160, 1170 (C.D. Cal. 2008)
 3   (“[a]s a threshold matter to the Colorado River test, the Court must determine whether
 4   the federal and state actions are sufficiently ‘parallel’”); see also Shekhter, 2017 U.S.
 5   Dist. LEXIS 220299, at *39 (treating as “a threshold matter” the determination whether
 6   actions are sufficiently parallel). To satisfy this inquiry, “exact parallelism” is not
 7   required; rather, it is enough that the two actions are “substantially similar.” Nakash,
 8   882 F.2d at 1417 (holding abstention was not an abuse of discretion, even where “exact
 9   parallelism [did] not exist,” because the disputes in both forums concerned same issue);
10   Abcarian v. Levine, 2016 U.S. Dist. LEXIS 192140, at *10 (C.D. Cal. Nov. 28, 2016)
11   (concluding actions were “substantially similar” because “they center[ed] on common
12   facts and legal questions,” even where actions involved different defendants and named
13   plaintiffs), aff’d, 693 Fed. Appx. 487 (9th Cir. 2017). A court “should be particularly
14   reluctant to find that the actions are not parallel when the federal action is but a ‘spin-
15   off’ of more comprehensive state litigation.” Shekhter, 2017 U.S. Dist. LEXIS 220299,
16   at *39-40 (citing Nakash, 882 F.2d at 1417).
17         Here, Plaintiff filed two lawsuits against the City 4 on the same day arising from
18   the citation, impound, and subsequent lien sale of his car in 2019. Not only is the
19   gravamen of both cases the same, but a substantial number of the allegations in the
20   complaints are word-for-word identical.5 In both cases, Plaintiff challenges the City’s
21   72-Hour Law enforcement on the same grounds, i.e., that it violates a slew of California
22   statutes, including the Unruh Civil Rights Act (California Civil Code section 51), the
23   Disabled Persons Act (California Civil Code section 54), California Civil Code section
24   3072, and California Vehicle Code section 22852, in addition to the Fourth and
25   4
       Plaintiff’s choice to add a defendant here that is not named in the State Action does not
     preclude finding the actions are sufficiently parallel, particularly when Viertel’s is sued
26   as an alleged agent of the City, and could be sued in the State Action. See Shekhter,
     supra, at *40 (“although the two cases do not involve identical parties, they both involve
27   the same core actors, their employees, and entities under their control).
     5
       See, e.g., SAC ¶ 4 (“The City and its agents tow vehicles for violations of the 72-hour
28   rule without a warrant or [] reasonable justification, such as a public safety rationale.”);
     see also RJN, Ex. A (State Complaint) at ¶ 8 (same).
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                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 17 of 34 Page ID #:345




 1   Fourteenth Amendments to the United States Constitution, and the Americans with
 2   Disabilities Act (“ADA”). In both cases, Plaintiff seeks declaratory relief, and injunctive
 3   relief enjoining the City’s enforcement of the 72-Hour Law, including warrantless
 4   towing of vehicles for violating the 72-Hour Law. See SAC, Prayer at ¶¶ viii, ix; RJN,
 5   Ex. A (State Complaint) at Prayer ¶¶ 2, 3. Indeed, Plaintiff acknowledges that both
 6   actions involve “the same underlying factual events that occurred when the City of Los
 7   Angeles and its agents unlawfully seized and sold Mr. Morrissey’s car without due
 8   process of law and without any consideration for his disability, while he was still in
 9   recovery from cancer surgery.” See Dkt. 4. It is clear the same parties are litigating the
10   same core issue– the validity of the City’s enforcement of its 72-Hour Law–in two
11   forums at the same time. It is indisputable that the suits are “substantially similar.” See
12   Nakash, 882 F.2d at 1416 (federal and state actions were substantially similar, even
13   though the claims raised in each were different). Indeed, this Federal Action is “but a
14   spin-off” of the more comprehensive State Action in which Plaintiff asserts a taxpayer
15   claim under California Civil Procedure Code section 526a on the basis of which he seeks
16   broad injunctive and declaratory relief not just with respect to his personal rights, but on
17   a citywide basis. See Dkt. 4 (“The federal action…seeks damages for Mr. Morrissey,
18   while the state action seeks broader relief available under state law, traditionally
19   provided by state courts.”) (emphasis added); see also Shekhter, 2017 U.S. Dist. LEXIS
20   220299, at *39-40. This factor weighs heavily in favor of abstention.
21         B.     Dismissal Or A Stay Of This Action Will Avoid Piecemeal Litigation
22         The interest in avoiding piecemeal litigation substantially favors dismissal or a
23   stay here. “Piecemeal litigation occurs when different tribunals consider the same issue,
24   thereby duplicating efforts and possibly reaching different results.” Montanore Minerals
25   Corp. v. Bakie, 867 F. 3d 1160, 1167 (9th Cir. 2017) (holding district court abused
26   discretion when it declined to stay case under Colorado River). While a mere possibility
27   of piecemeal litigation alone may not warrant a stay or dismissal of a federal action, a
28   stay or dismissal is appropriate where there is a “special concern about piecemeal
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 18 of 34 Page ID #:346




 1   litigation, which can be remedied by staying or dismissing the federal proceeding.” R.R.
 2   St. & Co. v. Transp. Ins. Co., 656 F.3d at 979 (district court did not err in concluding that
 3   avoidance of piecemeal litigation weighed against exercise of federal jurisdiction).
 4         The concern regarding piecemeal litigation is acute where, as here, a plaintiff
 5   pursues two actions simultaneously in state and federal court to achieve a singular goal.
 6   See Montanore Minerals Corp. v. Bakie, 867 F.3d at 1167 (concluding plaintiff’s choice
 7   to file in two courts resulted in piecemeal litigation of plaintiff’s singular goal, even
 8   where the state and federal courts did not consider precisely the same issue). Plaintiff is
 9   simultaneously, in two courts, pursuing his singular goal of challenging the City’s 72-
10   Hour Law and related enforcement policies. Since numerous identical factual and legal
11   questions will need to be answered in both the State and Federal Actions, Plaintiff’s
12   choice to simultaneously pursue both cases will cause needless duplication of efforts and
13   increase the danger that the two courts will reach conflicting conclusions as to the
14   validity of the same law and procedures, undermining the “conservation of judicial
15   resources and comprehensive disposition of the litigation.” See Colorado River, 424
16   U.S. at 817. Moreover, impounds pursuant to the 72-Hour Law are authorized by state
17   law (Cal. Veh. Code § 22651(k)), and many cities in California have similar 72-hour
18   parking prohibitions and enforcement procedures. Thus, similar to the “special concern”
19   posed by piecemeal adjudication of water rights in Colorado River, concurrent analysis
20   by this Court and the state court regarding whether the 72-Hour Law is valid poses a risk
21   of conflicting results on an issue that could have statewide consequences. See Shekhter,
22   2017 U.S. Dist. LEXIS 220299, at *42. The substantial duplication of efforts between
23   the State and Federal courts, coupled with the threat of conflicting decisions as to the
24   validity of the 72-Hour Law constitute the type of “special concern” regarding piecemeal
25   litigation that can be appropriately avoided if the Federal Action is dismissed or stayed.
26   R.R. St. & Co., at 979-80. This factor, therefore, weighs in favor of dismissal or a stay.
27         C.     State Law Provides The Rule Of Decision For Most Claims
28         The Colorado River analysis considers whether federal or state law provides the
                                                   9
                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 19 of 34 Page ID #:347




 1   rule of decision on the merits for the claims in the federal case. See Nakash, 882 F.2d at
 2   1416. Here, five out of the eight claims asserted in the Federal Action are state law
 3   claims arising under, and governed by, California law.6 Those claims all test whether
 4   enforcement of the 72-Hour Law violated California statutes, such as the Unruh Act,
 5   California Disabled Persons Act (“CDPA”), Civil Code section 3072, and Government
 6   Code section 815.6. While Plaintiff asserts three federal claims under 42 U.S.C. § 1983
 7   and the ADA, the state court has concurrent jurisdiction over those. See Ollie v. Riggin,
 8   848 F.2d 1016, 1017 (9th Cir. 1988) (noting existence of “concurrent jurisdiction in state
 9   and federal courts for civil rights cases” under 42 U.S.C. § 1983); Black v. Dep’t of
10   Mental Health, 83 Cal. App. 4th 739, 744 n.4 (2000) ( “state courts have concurrent
11   jurisdiction of ADA claims”). Where, as here, the state and federal courts have
12   concurrent jurisdiction over asserted federal claims, the significance of their existence is
13   minimized, if not eliminated. See Gallagher v. Dillon Group, 2003-I, 2010 U.S. Dist.
14   LEXIS 33054, at *12 (N.D. Cal. 2010) (“The significance of the federal claims is even
15   more attenuated–and possibly eliminated–where the state court has concurrent
16   jurisdiction over such federal claims.”). On balance, this factor favors abstention. See
17   id.; see also Abcarian, 2016 U.S. Dist. LEXIS 192140, at *15.
18         D.     The State Court Proceeding Adequately Protects Plaintiff’s Rights
19         Although courts may not stay or dismiss a federal action if the state action cannot
20   adequately protect the rights of the federal litigant, this case does not present that issue.
21   See R.R. Street & Co. Inc., 656 F.3d at 981 (finding state court could adequately address
22   rights and remedies at issue). As stated above, the state court has jurisdiction over all
23   claims Plaintiff asserts here, and it cannot be said that the state court is unable to enter
24   orders to protect Plaintiff’s rights – a fact Plaintiff well knows since every claim he
25   asserts in this Federal Action based on the federal Constitution or a federal statute is also
26   cited as a basis for his writ cause of action in the State Action. See Ollie, 848 F.2d at
27   6
      The fourth claim for violation of the Unruh Act, the fifth claim for violation of the
     CDPA, the sixth claim for violation of Civil Code section 3072, the seventh claim for
28   conversion (which is not asserted against the City), and the eighth claim for failure to
     perform a duty under Government Code section 815.6 all arise under state law.
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                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 20 of 34 Page ID #:348




 1   1017; Black, 83 Cal. App. 4th at 744 n.4. There are no exclusively federal claims
 2   asserted here that could not have been brought as part of the State Action. See Shekhter,
 3   2017 U.S. Dist. LEXIS 220299, at *44 (factor assessing adequacy of the state court
 4   proceeding weighed against federal jurisdiction where “there [were] no exclusively
 5   federal claims that could not be brought as part of the [state action].”); see also
 6   Fireman’s Fund Ins. Co. v. Garamendi, 790 F. Supp. 938, 965-66 (N.D. Cal. 1992)
 7   (dismissing federal case and noting that “[a]n aggrieved party can complain about
 8   violations of federal law or the federal constitution…in state court…”). Consideration of
 9   this factor supports abstention.
10         E.     Dismissing Or Staying This Action Discourages Forum Shopping
11         Forum shopping takes place when a litigant seeks to gain a strategic advantage
12   from filing in multiple forums. See R.R. St., 565 F.3d at 981 (“Forum shopping refers to
13   the practice of choosing the most favorable jurisdiction or court in which a claim might
14   be heard.”). Although Plaintiff will undoubtedly argue that it has not yet received any
15   unfavorable ruling or setback in the State Action, that is only because Plaintiff made the
16   decision to file the two almost identical lawsuits on the same day, undoubtedly to gain
17   the tactical advantages of pursuing two forums simultaneously and to maximize chances
18   of a favorable result. Allowing these duplicative suits to proceed simultaneously would
19   encourage forum shopping, and would undermine the “wise judicial administration” that
20   the Colorado River doctrine seeks to promote. See Ross v. U.S. Bank Nat’l Ass’n, 542 F.
21   Supp. 2d 1014, 1022-23 (N.D. Cal. 2008) (forum shopping factor supported abstention
22   where federal action was substantially similar to state actions brought by same counsel).
23         F.     State Court Proceedings Can Resolve All Issues Before Federal Court
24         As explained above, Plaintiff’s State and Federal Actions are substantially similar,
25   and the factual issues and legal questions to be resolved in this action will all be
26   addressed and resolved by the State Action. There is no reason why Plaintiff’s rights
27   cannot be protected in the State Court action and the issues raised here cannot be
28   resolved there. The mere fact that Plaintiff strategically chose to pursue damages only in
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 21 of 34 Page ID #:349




 1   his Federal Action, but not in his State Action, is not sufficient to warrant allowing him
 2   to pursue both at the same time, particularly when nothing stopped him from bringing
 3   the claims on which he seeks damages in the State Action. See Abcarian, 2016 U.S.
 4   Dist. LEXIS, at *9, 18 (granting Colorado River stay, despite fact that Plaintiffs sought
 5   no damages in state action but did seek damages in federal action).
 6         Weighing all applicable7 Colorado River factors in the pragmatic way urged by
 7   the Ninth Circuit supports dismissal or a stay of this action pending the outcome of
 8   Plaintiff’s State Action. See R.R. St. & Co. v. Transp. Ins. Co., 656 F.3d at 978-79
 9   (urging pragmatic balancing with eye to realities of the case) (citation omitted).
10   V.    ALTERNATIVELY, THE COMPLAINT SHOULD BE DISMISSED
11         BECAUSE IT FAILS TO STATE A CLAIM AGAINST THE CITY
12         A.     Plaintiff Has Not Alleged Monell Liability For Violation of His Fourth
13                or Fourteenth Amendment Rights
14         To state a claim under 42 U.S.C. § 1983, a plaintiff must allege that the defendant,
15   acting under color of law, deprived the plaintiff of a right secured by the Constitution or
16   federal statutes. See WMX Techs. v. Miller, 80 F.3d 1315, 1318 (9th Cir. 1996)
17   (affirming dismissal of section 1983 action). Since a city cannot be held vicariously
18   liable for deprivation of constitutional rights by employees or agents, a plaintiff asserting
19   such a claim against a city must also allege that a policy, practice, or custom of the city
20   was a “moving force” behind the alleged deprivation of rights. See Dougherty v. City of
21   Covina, 654 F.3d 892, 900 (9th Cir. 2011) (citing Monell v. Dep’t of Soc. Servs. of the
22   City of New York, 436 U.S. 658, 694 (1978)). Thus, in order to state his first two claims
23   against the City, Plaintiff must allege that: (1) he possesses a constitutional right of
24   7
       To the extent relevant in this situation where the state and federal actions were filed on
     the same day, the fourth factor addressing the order of jurisdiction tips in favor of
25   abstention because the “Notice of Pendency of Other Actions or Proceedings” filed by
     Plaintiff in this case indicates that the State Action was filed first. Dkt. 4. The first two
26   factors, addressing which forum first assumed jurisdiction over property at stake is
     irrelevant to the analysis here since the State and Federal Actions were filed on the same
27   day, and Plaintiff is not seeking to recover property in either action. See R.R. Street &
     Co. Inc., 656 F.3d at 979 (declining to analyze irrelevant factors). Similarly, the second
28   factor addressing the inconvenience of the federal forum has no significance here since
     both the federal and state forums are in Los Angeles.
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 22 of 34 Page ID #:350




 1   which he was deprived; (2) the City had a policy, custom, or practice; (3) the policy,
 2   custom, or practice amounts to deliberate indifference to Plaintiff’s constitutional rights;
 3   and (4) the policy, custom, or practice was the moving force behind the constitutional
 4   violation. Dougherty, 654 F.3d 892 at 900. Merely reciting these elements in a
 5   conclusory way, without factual support, is insufficient. See Taylor v. County of San
 6   Bernardino, 2011 U.S. Dist. LEXIS 113051, at *13 (C.D. Cal., Apr. 12, 2011) (“after
 7   Twombly and Iqbal, conclusory allegations that merely recite the elements of a Monell
 8   claim are not enough; plaintiff must allege specific facts giving rise to a plausible Monell
 9   claim.”). Rather, a “plaintiff must allege specific facts giving rise to a plausible Monell
10   claim.” Id.; see also AE ex rel. Hernandez v. County, 666 F.3d 631, 637 (9th Cir. 2012)
11   (for a Monell claim to survive a motion to dismiss, “factual allegations that are taken as
12   true must plausibly suggest an entitlement to relief, such that it is not unfair to require
13   the opposing party to be subjected to the expense of discovery and continued
14   litigation.”).
15          Here, Plaintiff fails to adequately state a claim against the City under Monell for
16   violation of his Fourth or Fourteenth Amendment rights on any of the asserted bases.
17                    1.      Plaintiff’s First Claim Fails Because Tows To Enforce The 72-
18                            Hour Law Do Not Violate Constitutional Rights
19          Plaintiff’s first claim should be dismissed because Plaintiff does not, and cannot,
20   plausibly allege a deprivation of his Fourth or Fourteenth Amendment rights based on
21   towing his car for violating the 72-Hour Law. See Capp v. City of San Diego, 940 F.3d
22   1046, 1061 (9th Cir. 2019) (affirming dismissal of Monell claim where plaintiffs failed
23   to plausibly plead a Fourth Amendment violation).
24          Plaintiff has not, and cannot, assert a facial or as-applied challenge to the City’s
25   72-Hour Law or its enforcement of that law based on the identified policy of towing cars
26   for violating the 72-Hour Law. See SAC ¶ 61. As admitted by Plaintiff, the City first
27   issued a citation warning Plaintiff his vehicle would be towed if not moved, and only
28   impounded the vehicle after Plaintiff continued to violate the City’s 72-hour law. SAC
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                           CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 23 of 34 Page ID #:351




 1   ¶¶ 19-21. Notwithstanding these admissions, Plaintiff alleges that because “Defendants”
 2   towed his vehicle without a warrant or reasonable justification, the tow amounts to an
 3   unreasonable seizure. SAC ¶ 61.
 4         The analysis is not nearly as simple as Plaintiff hopes or his allegations suggest.
 5   True, courts recognize that a seizure results where “some meaningful interference with
 6   an individual’s possessory interests in that property.” Soldal v. Cook County, 506 U.S.
 7   56, 61 (1992). But the touchstone of the Fourth Amendment is reasonableness, and the
 8   Fourth Amendment does not proscribe all state-initiated searches and seizures; it merely
 9   proscribes those which are unreasonable.” United States v. Hawkins, 249 F.3d 867, 872
10   (9th Cir. 2001) (citing Florida v. Jimeno, 500 U.S. 248, 250 (1991)).
11         In Brown v. Texas, 443 U.S. 47 (1979), the Supreme Court held:
12         The reasonableness of seizures that are less intrusive than a traditional arrest
13         depends ‘on a balance between the public interest and the individual's right
14         to personal security free from arbitrary interference by law officers.’
15         Consideration of the constitutionality of such seizures involves a weighing of
16         the gravity of the public concerns served by the seizure, the degree to which
17         the seizure advances the public interest, and the severity of the interference
18         with individual liberty. Id. at 50-51 (citations omitted).
19         Stated more simply, a seizure conducted without a warrant need only fit within an
20   exception to be considered reasonable. United States v. Hawkins, 249 F.3d 867, 872 (9th
21   Cir. 2001). Here, the community caretaking exception renders meritless Plaintiff’s claim
22   of a Fourth Amendment violation.
23         Under the community caretaking exception, the City is entitled to impound not
24   only those vehicles that jeopardize public safety and the efficient movement of traffic,
25   South Dakota v. Opperman, 428 U.S. 364, 371 (1976), but also those that may be a
26   target of vandalism or theft. United States v. Jensen, 425 F.3d 698, 706 (9th Cir. 2005);
27   see also Hallstrom v. City of Garden City, 991 F.2d 1473, 1477 (9th Cir. 1993)
28   (impoundment of arrestee’s car from private parking lot “to protect the car from
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 24 of 34 Page ID #:352




 1   vandalism or theft” was reasonable under the community caretaking function); Miranda
 2   v. City of Cornelius, 429 F.3d 858, 864-65 (9th Cir. 2005) (whether impoundment
 3   warranted under community caretaking doctrine depends on vehicle location and duty to
 4   prevent hazard creation or being target for vandalism or theft).
 5         In Hallstrom, the plaintiff argued the police violated her rights by arranging for
 6   her car to be towed from the parking lot where she pulled off the road. Hallstrom, 991
 7   F.2d at 1477, n. 4. In rejecting that argument, the court concluded that the community
 8   caretaking exception applied, and that it was not unreasonable for police officers to
 9   protect vehicles from vandalism or theft by having them towed. Hallstrom, 991 F.2d at
10   1477 fn. 4 (citing United States v. Johnson, 734 F.2d 503, 505 (10th Cir. 1984); United
11   States v. Griffin, 729 F.2d 475, 480 (7th Cir. 1984), cert. denied 469 U.S. 830 (1984));
12   see also Ramirez v. City of Buena Park, 560 F.3d 1012, 1025 (9th Cir. 2009)
13   (community caretaking includes impounding vehicle to protect from vandalism or theft).
14         Plaintiff complains that his car “was not parked in violation of any posted parking
15   restrictions, obstructing traffic, blocking any driveways or roadways, posing any other
16   public safety threat, or involved in any crimes.” SAC ¶ 19. But Plaintiff’s allegations
17   concede that when towed, his vehicle had been parked in the same spot for at least ten
18   days, i.e., more than three times as long as allowed under section 80.73.2. SAC ¶¶ 19,
19   21. Simply put, the City was well within its rights to impound Plaintiff’s vehicle, thus
20   making the “seizure” reasonable. See Waters v. Hollywood Tow Serv., 2010 U.S. Dist.
21   LEXIS 93091, at *43 (C.D. Cal., Jul. 27, 2010) (“Parking enforcement falls squarely
22   within the scope of the community caretaking function.”).
23         Contrary to Plaintiff’s conclusory allegation (SAC ¶ 61), he also cannot plausibly
24   allege a deprivation of his Fourteenth Amendment due process rights based on the tow of
25   his car. Procedural due process does not require a hearing before impoundments. See
26   Miranda v. City of Cornelius, 429 F.3d 858, 867 (9th Cir. 2005). Moreover, the 72-Hour
27   Law has been held to conform to procedural due process requirements. See, e.g.,
28   Sackman v. City of Los Angeles, 677 Fed. Appx. 365, 365 (9th Cir. 2017) (affirming
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 25 of 34 Page ID #:353




 1   dismissal of procedural due process claim based on purported lack of pre-towing notice
 2   under 72-Hour Law). Thus, even if Plaintiff established a policy of towing vehicles for
 3   violating the 72-Hour Law without warrants and without a prior hearing, that does not
 4   establish a violation of procedural due process sufficient to support Monell liability.
 5         In sum, Plaintiff has not, and cannot, plausibly allege a deprivation of
 6   constitutional rights based on the impound of his car for violating the 72-Hour Law.
 7                2.      Plaintiff’s Second Claim Fails Because Plaintiff Cannot Establish
 8                        Monell Liability Based On The Fourteenth Amendment
 9         Plaintiff’s second claim should be dismissed because he fails to adequately allege
10   the existence of a widespread policy, custom, or practice, much less one that amounts to
11   deliberate indifference to Plaintiff’s Fourteenth Amendment due process rights and that
12   was also the moving force behind an alleged violation of those constitutional rights.
13                        a.    Lack of Facts Establishing A Policy, Practice, or Custom
14         One isolated instance in which Plaintiff alleges he did not get a hearing before his
15   car was sold is not sufficient to demonstrate a policy, practice, or custom, nor are
16   conclusory allegations that lack factual support. See Van Dusen v. City of Oakland, 2015
17   U.S. Dist. LEXIS 51777, at *23-24 (N.D. Cal., Apr. 20, 2015) (granting motion to
18   dismiss and holding that formulaic allegations were insufficient to state a Monell claim).
19   Courts routinely dismiss 42 U.S.C. § 1983 claims against cities when plaintiffs assert
20   only conclusory allegations, without sufficient factual support, of a plausible policy,
21   practice, or custom. See e.g., Bauer v. City of Pleasanton, 2020 U.S. Dist. LEXIS
22   52748, at *5 (N.D. Cal., Mar. 26, 2020) (dismissing Monell claim unsupported by
23   sufficient facts to establish a policy, practice or custom); Martinez v. County of Los
24   Angeles, 2018 U.S. Dist. LEXIS 21875, at *12 (C.D. Cal., Feb. 1, 2018) (dismissing
25   claim based on conclusory allegations that “merely parrot[ed] the standard for alleging a
26   Monell claim”).
27         Here, even if Plaintiff’s allegation that he did not receive a hearing on the citation
28   and/or impound after requesting one were true, the City cannot be held liable under 42
                                                 16
                       CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 26 of 34 Page ID #:354




 1   U.S.C. § 1983 unless the City has a policy, practice or custom of denying such hearings.
 2   See Scofield v. Hillsborough, 862 F.2d 759, 765 (9th Cir. 1988) (city could not be liable
 3   under 42 U.S.C. § 1983 even if plaintiff was denied a post-tow hearing, unless that was
 4   consistent with a city policy); see also Sanchez v. City of Fresno, 914 F. Supp. 2d 1079,
 5   1095 (E.D. Cal. 2012) (dismissing Monell claim for failure to plausibly allege a practice
 6   or custom, and noting “[a] single constitutional deprivation ordinarily is insufficient to
 7   establish a longstanding practice or custom”). At most, Plaintiff relies on only the single
 8   instance in which his car was sold at a lien sale after Plaintiff had allegedly attempted to
 9   assert his administrative hearing rights as to a parking citation and tow. See SAC ¶ 82.
10   Beyond that, Plaintiff fails to plead facts supporting his conclusory allegation that the
11   City has a policy, practice, or custom of selling cars during the pendency of a challenge
12   to a parking citation or tow. SAC ¶ 76. Indeed, Plaintiff offers no facts plausibly
13   suggesting that there have been any other instances where a car was sold at a lien sale
14   during the pendency of an administrative challenge to an underlying citation or tow. 8
15         Plaintiff offers another “policy, practice, or custom” to support his Monell claim
16   for violation of his Fourteenth Amendment rights, but it fares no better. Without
17   offering facts to support the conjecture, Plaintiff alleges in conclusory fashion, and “[o]n
18   information and belief, [that] the City maintains a policy, practice, and custom of not
19   communicating or coordinating between its various agents and administrative bodies –
20   including the Parking Violations Bureau, DOT Central, and the City’s OPG overseeing
21   the lien sale – when a vehicle owner challenges a citation which was the basis for a tow.”
22   See SAC ¶ 54; see also SAC ¶ 76. Such speculative and conclusory allegations, without
23   specific facts to support them, are insufficient to state a plausible Monell claim that
24   raises Plaintiff’s right to relief above a speculative level. See Waters, 2010 U.S. Dist.
25   LEXIS 93091, at *38 (dismissing Monell claim where “Plaintiff’s allegations that the
26   City had a municipal policy or custom of violating procedures prescribed by the Vehicle
27   8
      The absence of such facts is particularly telling since Plaintiff claims that “many”
28   Angelenos’ cars have been towed, and later sold, for a violation of the 72-Hour Law.
     SAC ¶ 34.
                                                 17
                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 27 of 34 Page ID #:355




 1   Code for contesting parking citations are speculative and devoid of factual support.”).
 2                       b.    No Identified Policy, Practice or Custom Was The “Moving
 3                             Force” Behind A Constitutional Violation
 4         It is insufficient to merely allege a policy, practice, or custom; rather, a plaintiff
 5   must allege facts plausibly establishing that the policy, practice, or custom was the
 6   “moving force” behind a constitutional violation. See Dougherty, 654 F.3d 892 at 900-
 7   901 (affirming court’s dismissal of Monell claims where complaint lacked facts
 8   establishing that a city custom or practice was the “moving force” behind a constitutional
 9   violation). This requires a plaintiff to show “a direct causal link between the municipal
10   action and the deprivation of federal rights.” Bd. Of the Cnty. Comm’rs v. Brown, 520
11   U.S. 397, 404 (1997); see also Inman v. Anderson, 294 F. Supp. 3d 907, 920 (N.D. Cal.
12   2018) (“A policy or custom is considered a ‘moving force’ behind a constitutional
13   violation if both causation-in-fact and proximate causation can be established.”).
14         Even if Plaintiff had adequately alleged the existence of a policy, practice, or
15   custom of not informing the OPGs – the lienholders who conduct the lien sales – of the
16   existence of a challenge to a parking citation that ultimately led to an impound, Plaintiff
17   cannot show that such an alleged lack of communication actually and proximately
18   caused a violation of his Fourteenth Amendment due process rights. In no way does the
19   alleged lack of communication between the City and an OPG regarding the existence of
20   a challenge to a citation and impound prevent a registered vehicle owner like Plaintiff
21   from asserting his hearing rights to oppose a lien sale by following the steps laid out in
22   Civil Code section 3072 (which are also spelled out in the notice of lien sale that
23   Plaintiff concedes he received). All Plaintiff was required to do in order to exercise his
24   right to be heard in opposition to the lien sale of his car was to complete the Declaration
25   of Opposition portion of the Notice of Pending Lien Sale and provide it to the
26   Department of Motor Vehicles within 10 days of the date the notice was mailed. Cal.
27   Civ. Code § 3072; see also Whitsitt v. Zedlitz, 2013 U.S. Dist. LEXIS 202482, at *7-8
28   (Jul. 19, 2013) (discussing process outlined in § 3072 to dispute lien sale). Despite
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 28 of 34 Page ID #:356




 1   acknowledging that separate procedures exist for challenging (1) a parking citation, (2) a
 2   vehicle impound, and (3) a vehicle lien sale, Plaintiff tacitly concedes that he did not
 3   take steps necessary to contest the lien sale and avail himself of the opportunity to be
 4   heard prior to the sale of his car. The SAC is noticeably devoid of any facts plausibly
 5   suggesting that the City has a policy, practice or custom of authorizing OPGs to sell
 6   vehicles after the registered owners of those vehicles have properly and timely followed
 7   the procedure set forth in California Civil Code section 3072 to assert their hearing rights
 8   to oppose a lien sale.
 9         B.     Plaintiff Has Not Adequately Alleged A Failure to Train or Supervise
10         To the extent Plaintiff attempts to base either of his first two claims on a failure to
11   train or supervise theory, he falls short. A failure to train Monell claim is actionable
12   “[o]nly where a municipality’s failure to train its employees in a relevant respect
13   evidences a deliberate indifference to the rights of its inhabitants” such that it can “be
14   properly thought of as a city policy or custom under § 1983.” Flores v. County of Los
15   Angeles, 758 F.3d 1154, 1157 n.8 (9th Cir. 2014) (citation omitted). The SAC contains
16   only vague and conclusory allegations regarding an alleged failure to train or supervise,
17   such as “Defendants’ failure to train, supervise, and/or promulgate appropriate policies,
18   procedures, and practices to prevent the enforcement of the 72-hour rule through
19   warrantless tows.” SAC ¶ 68. There are no specific factual allegations regarding what
20   the City’s relevant training policies or programs consist of, much less details explaining
21   how the training or supervision was inadequate on a system-wide level. Plaintiff’s
22   conclusory allegations are insufficient to support a Monell claim based on failure to train
23   or supervise. See Manda v. Albin, 2019 U.S. Dist. LEXIS 204473, at *25 (N.D. Cal.
24   Nov. 25, 2019) (granting motion to dismiss because conclusory allegations regarding the
25   city needing “more or different training, supervision, investigation or discipline” were
26   insufficient). The allegations do not raise Plaintiff’s right to relief above a speculative
27   level, particularly in light of the high bar applicable to failure to train claims. See
28   Connick v. Thompson, 563 U.S. 51, 61 (2011) (“A municipality’s culpability for a
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                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 29 of 34 Page ID #:357




 1   deprivation of rights is at its most tenuous where a claim turns on a failure to train”).
 2         Even if the SAC contained sufficient facts to suggest a failure to train or supervise
 3   in the one instance involving Plaintiff (see SAC ¶ 64), that single incident does not
 4   establish a pattern sufficient to state a Monell claim for a failure to train or supervise.
 5   See Flores v. County of Los Angeles, 758 F.3d. 1154, 1159-60 (9th Cir. 2014) (isolated
 6   incidents of wrongdoing did not establish pattern of training deficiencies to put county
 7   on notice of deficiencies sufficient to establish deliberate indifference element of failure
 8   to train claim); Albin, 2019 U.S. Dist. LEXIS 204473, at *24-25 (single act was
 9   insufficient to establish supervisory inaction); Vasquez v. City of Santa Paula, 2015 U.S.
10   Dist. LEXIS 186844, at *11 (C.D. Cal. Mar. 11, 2015) (“evidence of a failure to
11   supervise during a single incident does not establish a policy or longstanding practice or
12   custom required for Monell liability.”).
13         Moreover, Plaintiff’s conclusory allegations are insufficient to establish a nexus
14   between the vaguely-alleged failure to train and supervise, and any resulting alleged
15   constitutional violation. See Dougherty, 654 F.3d at 900-901 (affirming dismissal of
16   Monell claim where facts did not establish any custom or practice was the “moving
17   force” behind a constitutional violation). Plaintiff’s failure to train theory fails.
18         C.     Plaintiff Fails To State A Claim For Violation Of The ADA
19         To state a claim under Title II of the ADA, Plaintiff must allege that: (1) he is an
20   individual with a disability; (2) he is otherwise qualified to participate in or receive the
21   benefit of the City’s services, programs, or activities; (3) he was either excluded from
22   participation in or denied such benefit, or was discriminated against by the City; and (4)
23   such exclusion, denial of benefits, or discrimination was by reason of [his] disability. 42
24   U.S.C. § 12132; O’Guinn v. Lovelock Corr. Ctr., 502 F.3d 1056, 1061 (9th Cir. 2007).
25         Plaintiff has not shown that he had a “disability” entitling him to the ADA’s
26   protection. A “disability” under the ADA is “(A) a physical or mental impairment that
27   substantially limits one or more major life activities of [an] individual; (B) a record of
28   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.
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                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 30 of 34 Page ID #:358




 1   § 12102(1). Neither Plaintiff’s alleged short recovery from surgery causing him to be
 2   “largely bedbound in the days following his discharge from hospital,” nor the three-
 3   month medical prohibition on driving constitute a “disability.” SAC ¶ 20. Short-term,
 4   temporary conditions typically do not qualify as a “disability.” See e.g., Sanders v.
 5   Arneson Prods., Inc., 91 F.3d 1351, 1354 (9th Cir. 1996) (four-month psychological
 6   impairment did not constitute a disability under the ADA); Apostol v. Castro Valley
 7   Unified Sch. Dist, 2011 U.S. Dist. LEXIS 124509, at *10-11 (N.D. Cal. Oct. 27, 2011)
 8   (plantar faciitis that partially restricted ability to walk for about three months was not a
 9   disability within the ADA). In addition, although the Ninth Circuit has not squarely
10   addressed the issue, case law from other circuits indicates that a medicinal side effect can
11   be a “disability” only if the medicine is necessary in the judgment of the medical
12   profession, and there is no alternative. See e.g., Sulima v. Tobyhanna Army Depot, 602
13   F.3d 177, 187 (3d Cir. 2010) (“if one can alter or remove the ‘impairment’ through an
14   equally efficacious course of treatment, it should not be considered ‘disabling’.”). The
15   SAC does not allege that there was no equally efficacious alternative to Plaintiff’s
16   medicine that would not have impacted driving, such that taking the medicine for three
17   months could be considered “disabling.” Moreover, several courts have held that driving
18   is not a major life activity. See Mandujano v. Geithner, 2011 U.S. Dist. LEXIS 68582,
19   at *15 (N.D. Cal. Jun. 28, 2011) (“a number of courts have held that driving by itself
20   does not constitute a major life activity under the ADA.”). Plaintiff’s short-term refrain
21   from driving simply was not a “disability” that substantially limited a major life activity.
22         Even if Plaintiff had a “disability” within the meaning of the ADA, Plaintiff fails
23   to articulate a cognizable theory of a service, program, or activity from which he was
24   excluded or of which he was denied the benefit. To the extent Plaintiff is trying to assert
25   he was denied a reasonable accommodation with respect to the City’s “administrative
26   procedures” (SAC ¶ 95), such theory fails. Although Plaintiff makes vague reference to
27   the City’s alleged failure to “provide additional time for disabled persons to navigate the
28   administrative hearing process” (SAC ¶¶ 5, 27), nowhere does he allege that he notified
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 31 of 34 Page ID #:359




 1   the City that, due to a disability, he required more time to challenge his citation or tow.
 2   Indeed, Plaintiff does not allege he was unable to comply with the administrative
 3   challenge process due to a disability, but, on the contrary, he contends that he effectively
 4   contested the citation and tow. See SAC ¶¶ 28, 30. The alleged facts, thus, do not
 5   plausibly establish that Plaintiff notified the City that he needed an accommodation to
 6   the challenge process, much less that he was denied such accommodation.
 7         Even if Plaintiff had adequately alleged the other elements of his claim, Plaintiff
 8   fails to plausibly allege that any denial was “by reason of” a disability. Plaintiff’s
 9   conclusory allegations 9 do not suffice to plead the requisite nexus between his alleged
10   disability and wrongful conduct. See O’Guinn, 502 F.3d at 1060 (plaintiff must allege
11   “exclusion, denial of benefits, or discrimination was by reason of [his] disability”).
12         For all these reasons, Plaintiff’s ADA claim should be dismissed. 10
13         D.     Plaintiff Fails To State A Claim Under The Unruh Civil Rights Act
14         The Unruh Act provides for damages “made by a ‘business establishment’ in the
15   course of furnishing goods, services or facilities to its clients, patrons or customers.”
16   Stamps v. Superior Court, 136 Cal. App. 4th 1441, 1449 (2006). A municipal entity is
17   not a business establishment for purposes of the act unless it engages in behavior
18   involving sufficient “businesslike attributes.” See Qualified Patients Assn. v. City of
19   Anaheim, 187 Cal.App.4th 734, 764–765 (2010) (because city enacting legislation is not
20   functioning as a “business establishment,” we conclude the act does not embrace
21   plaintiffs’ claims against the city for discrimination based on a disability or medical
22   condition calling for the use of medical marijuana); Taormina v. California Dept. of
23   Corrections, 946 F. Supp. 829, 833 (S.D. Cal. 1996); Gaston v. Colio 883 F. Supp. 508
24   (S.D. Cal. 1995); see also Curran v. Mount Diablo Council of the Boy Scouts, 17 Cal.4th
25   9
       See, e.g., SAC ¶ 96 (“Defendants’ failure to accommodate Mr. Morrissey and the
26   resulting denial of benefits and services was due to his disability and/or medical
     condition.”).
27   10
        In addition, Plaintiff fails to allege the deliberate indifference by the City necessary to
     recover damages under the ADA against a governmental entity. See Duvall v. Cty. of
28   Kitsap, 260 F.3d 1124, 1138 (9th Cir. 2001) (requiring that plaintiff show deliberate
     indifference by public entity to recover monetary damages under Title II of the ADA).
                                                     22
                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 32 of 34 Page ID #:360




 1   670, 676–677 (1998) (organization is not a business establishment for purposes of the
 2   Unruh Act if the organization is not involved in the sale of access to the basic activities
 3   or services of the organization). An organization has sufficient businesslike attributes to
 4   qualify as a business establishment when it “appears to have been operating in a capacity
 5   that is the functional equivalent of a commercial enterprise.” Warfield v. Peninsula Golf
 6   & Country Club, 10 Cal.4th 594, 622 (1995). The City is a municipal entity, not a
 7   business establishment, and nothing in its parking regulations enforcement transforms its
 8   nature such that it is liable under the Unruh Act.
 9         This conclusion was confirmed in Carter v. City of Los Angeles, 224 Cal.App.4th
10   808, 825 (2014), which involved allegations that the City violated Title II of the ADA,
11   the Unruh Act and the CDPA. While dicta, the Court of Appeal noted statutory damages
12   were unlikely under the CDPA and Unruh Act. Carter, supra, 224 Cal. App. 4th at 825:
13         The settlement and trial judges below deemed appellants’ damages claims to
14         be “incidental” because they were legally questionable. In other words,
15         statutory damages were ‘a long shot’ and the right to them “highly
16         questionable” because no California court would likely consider a municipal
17         entity to be liable under the Unruh Civil Rights Act or the Disabled Persons
18         Act; the released damages claims were of minimal value and therefore
19         incidental. We happen to agree that statutory damages are unlikely here. Id.
20         The conclusion is unambiguous and confirms that damages under the Unruh Act
21   are not recoverable against the City, a public entity. Carter 224 Cal. App. 4th at 825.
22   The clear position of both lower and appellate courts was that damages under the Unruh
23   Act are not recoverable against the City, as a public entity. The City is no more a
24   “business establishment” here than the Legislature was one in Qualified Patients Assn.,
25   above, or the prison was one in Taormina. These cases are unambiguous and confirm
26   that damages under the Unruh Act are not recoverable against the City, a public entity.
27         E.     Plaintiff Fails To State A Claim Under The CDPA
28         Plaintiff’s CPDPA claim fails for the same reasons as Plaintiff’s ADA claim for
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 33 of 34 Page ID #:361




 1   relief. In addition, the CDPA does not provide for monetary liability for a City. Civ.
 2   Code, § 54.3, subd. (a) provides for monetary liability only for “[a]ny person or persons,
 3   firm, or corporation” who violates its provisions. If the Legislature intended to include
 4   cities as potentially liable under the CDPA, it could have easily, and indeed would have,
 5   included the word “city” in section 54.3. Because it did not, the Court should conclude
 6   that the Legislature did not intend for cities and counties to be liable for money damages
 7   under the CDPA. See Carter, 224 Cal.App.4th at 825 (opining that “no California court”
 8   would likely hold a city liable for damages under the CDPA).
 9         F.     Plaintiff Cannot State A Claim Against The City Under California
10                Civil Code Section 3072
11         Assuming arguendo that Plaintiff adequately alleged the Lien Sale Notice did not
12   comply with Civil Code section 3072, that provision imposes obligations to provide a
13   notice of lien sale only on a lienholder, i.e., Viertel’s. However, no obligations with
14   respect to that notice fall on the public entity directing the car to be towed in good faith
15   compliance with the law. Specifically, “Section 3072 requires the lienholder (not the
16   county or law enforcement agency directing that the car be towed) to send by certified
17   mail ‘a completed Notice of Pending Lien Sale form…”, and “[t]hat section imposes no
18   notice-giving duty on the county or the law enforcement entity.” See Hawkins v. San
19   Mateo County Law Library, 2007 U.S. Dist. LEXIS 47559, at *15 (N.D. Cal. Jun. 21,
20   2007) (granting county defendants’ motion to dismiss because “they had no legal
21   obligation to notify Hawkins of the pending lien sale of his vehicle by the towing
22   company.” See id. Likewise, Plaintiff fails to state a claim against the City for violation
23   of Section 3072 because this section does not impose any obligation on the City.
24         G.     Plaintiff Fails To State A Claim Under Government Code Section 815.6
25         To state a claim under Government Code section 815.6, a plaintiff must allege: (1)
26   an enactment imposes a mandatory duty on a public entity; (2) the duty was intended to
27   prevent the kind of harm plaintiff alleges; and (3) a breach of the duty was a proximate
28   cause of plaintiff’s harm. Guzman v. County of Monterey, 46 Cal. 4th 887, 898 (2009).
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                    CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
 Case 2:20-cv-03355-JFW-MAA Document 41 Filed 07/13/20 Page 34 of 34 Page ID #:362




 1         Plaintiff relies on two allegedly mandatory duties – one imposed on Viertel’s (not
 2   the City) by Civil Code section 3072 to include specified information in a lien notice,
 3   and one imposed by Vehicle Code section 22852(b) to send an impound notice to an
 4   impounded car’s owner within a specified time. See SAC ¶¶ 132, 135. Assuming
 5   arguendo that Plaintiff identified a statute imposing a mandatory duty on the City, and
 6   that Plaintiff’s conclusory allegation were sufficient to allege that the sale of his vehicle
 7   “without due process” was the type of harm the statute intended to prevent (SAC ¶ 137),
 8   Plaintiff nonetheless fails to state a claim for breach of a mandatory duty because he has
 9   not, and cannot, allege facts establishing the requisite causal link between the alleged
10   breach and the alleged harm. Instead, the SAC includes only a conclusory allegation that
11   “[t]he City’s and its agent’s negligence and failure to perform its mandatory duties under
12   California Civil Code § 3072 and California Vehicle Code § 22852 proximately caused
13   (1) the wrongful sale of Mr. Morrissey’s vehicle; and (2) the deprivation of due process
14   suffered by Mr. Morrissey.” SAC ¶ 138. Moreover, the facts that are alleged indicate
15   the opposite is true – that despite the allegedly statutorily-deficient notices, Plaintiff
16   received written notices of both the impound and pending lien sale, and there is no
17   allegation that Plaintiff’s car was sold either without his knowledge or before he had
18   sufficient time to contest the sale; instead, Plaintiff chose not to dispute the lien sale. See
19   SAC ¶¶ 24, 25, 27. Plaintiff’s eighth claim should be dismissed.
20   VI.   CONCLUSION
21         For the foregoing reasons, the City respectfully requests that this action be
22   dismissed or stayed under Colorado River or, alternatively, that the claims against the
23   City be dismissed pursuant to Rule 12(b)(6).
24   Dated: July 13, 2020           OFFICE OF THE LOS ANGELES CITY ATTORNEY
25
                                    /s/ Jessica Mariani
26                                  JESSICA A. MARIANI
                                    Deputy City Attorney
27                                  Attorneys for Defendant City of Los Angeles
28
                                                   25
                     CITY OF LOS ANGELES’ MOTION FOR DISMISSAL OR STAY
